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                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

                                 CIVIL MINUTES – JURY TRIAL
                                               Day Seven


   Case No.: 3:17CV72                   Date: Nov 2, 2021

     Elizabeth Sines, et al                          Counsel: Michael Bloch, Roberta Kaplan,
     Plaintiff(s)                                    Karen Dunn, Jessica Phillips, David Mills,
                                                     Arpine Lawyer, William Isaacson, Alan
     v.                                              Levine

     Jason Kessler, et al                            Counsel: Bryan Jones, David Campbell,
     Defendant(s)                                    Joshua Smith, James Kolenich

                                                     Richard Spencer, pro se, Christopher
                                                     Cantwell, pro se

                                                     William ReBrook, Appearing by Zoom;
                                                     Dillon Hopper, pro se, Appearing by Zoom



   PRESENT: JUDGE:                   Norman K. Moon              TIME IN COURT: 9:00-
   10:30=1hr 30min; 10:50-12:30=1hr 40min; 1:30-2:55=1hr 25min; 3:25-5:00=1hr 35min; Total=
   6hrs 10min
                Deputy Clerk:        Heidi N. Wheeler/Susan Moody
                Court Reporter:      Lisa Blair


                                        LIST OF WITNESSES

       PLAINTIFF                                          DEFENDANT
     1. Samantha Froelich-Video Depo Cont.           1.
     2. Matthew Heimbach


          Plaintiff continues presentation of evidence.

   Additional Information:
   Before jury seated, issues of video depositions addressed.
   Further heard on the Froelich deposition.
   Jury seated.
   Instruction read to jury.
   Froelich deposition continued.
   Out of presence of the jury further discussion of deposition addressed / counter designation
   Break
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   Testimony of Heimbach begins.

   Break.
   Testimony resumes.
   Sidebar.
   Break
   Testimony resumes
   Cross begins with Mr. Kolenich. 4:24 pm
   Mr. Spencer starts cross-Sidebar.
   Mr. Campbell follows.
   Court adjourns until 9:00 a.m. on Nov. 3.
   Out of presence of jury witness and exhibit issues addressed for Nov. 3rd.
